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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------x
 UNITED STATES OF AMERICA,

         -against-
                                                               MEMORANDUM AND ORDER
                                                                     05-CR-401
 Dwayne STONE, et al.,

                                 Defendants.
 ------------------------------------------------x
 GLASSER, United States Senior District Judge:

         Trial in this criminal action, in which the three remaining defendants are charged

 with a number of serious crimes including racketeering and racketeering conspiracy in

 violation of the Racketeer Influenced and Corrupt Organizations Act of 1970 (“RICO”),

 18 U.S.C. § 1962(c) & (d), is currently underway before this Court. Several of the

 racketeering acts that the defendants are alleged to have committed and conspired to

 commit– specifically, racketeering acts 7(a), 8(a), 10(a), and 12, which are alleged in

 Count One and incorporated by reference in Count Two of the Sixth Superseding

 Indictment– involve conspiracy to commit murder in violation of state law,1 specifically

 New York Penal Law §§ 125.25(1)2 and 105.15.3 At the end of the trial day on Thursday,

 January 24, 2008, the Court held a conference with the parties, outside the presence of

         1
                 RICO defines “racketeering acts” to include, inter alia, “any act or threat involving
 murder, kidnapping, gambling, arson, robbery, bribery, extortion, dealing in obscene matter, or dealing in
 a controlled substance or listed chemical (as defined in section 102 of the Controlled Substances Act),
 which is chargeable under State law and punishable by imprisonment for more than one year.” 18 U.S.C.
 § 1961(1)(A).
         2
                  N.Y. Penal L. § 125.25 states that a person is guilty of second-degree murder when, “[w]ith
 intent to cause the death of another person, he causes the death of such person or of a third person,”
 subject to certain affirmative defenses.
         3
                 N.Y. Penal L. § 105.15 states that “[a] person is guilty of conspiracy in the second degree
 when, with intent that conduct constituting a class A felony be performed, he agrees with one or more
 persons to engage in or cause the performance of such conduct.”

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 the jury, to discuss the Court’s instructions to the jury regarding the law governing this

 case. At that conference, the Court, acting sua sponte, raised the question whether it

 should instruct the jury that in order to find the defendants guilty of the above-cited

 racketeering acts, it must find that some overt act was taken in furtherance of the

 alleged conspiracy, as is required by New York Penal Law § 105.20 (“Section 105.20”)

 for a conspiracy conviction under N.Y. Penal L. § 105.15.4 The government encouraged

 the Court to do so, taking the position that, while it is not required to plead the

 commission of any overt acts in furtherance of a state-law conspiracy in the indictment

 in this case, it is nevertheless required to prove the substantive elements of the

 underlying state crime in order to establish the commission of the associated

 racketeering act. On Friday, January 25, the government submitted a letter to the Court

 in which it reiterated that position and cited Second Circuit authority in support of the

 proposition that a district court generally should instruct the jury as to the substantive

 elements of a state-law offense identified as a racketeering act in a RICO indictment,

 even though it is not always required to do so, in the sense that the failure to give such

 an instruction would constitute reversible error. The government stated that position

 yet again during a hearing on the jury charge pursuant to Federal Rule of Criminal

 Procedure 30 which took place on the morning of Monday, January 28.

         Having reviewed the authority cited by the government as well as conducted its

 own additional research, the Court concludes that it need not, and will not, instruct the

 jurors that they must find an overt act to have been committed in furtherance of each of


         4
                   N.Y. Penal L. § 105.20 states that “[a] person shall not be convicted of conspiracy unless
 an overt act is alleged and proved to have been committed by one of the conspirators in furtherance of the
 conspiracy.”

                                                      2
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 the alleged state-law conspiracies in order to find that the government has established

 the racketeering act associated with that conspiracy. While it is true that Second Circuit

 authority encourages the district court to instruct the jury as to the substantive elements

 of any state-law crimes alleged as predicate racketeering acts in a RICO prosecution, the

 Court’s independent examination of New York law has revealed that the overt act

 requirement imposed by Section 105.20 is merely an evidentiary rule applicable to

 conspiracy prosecutions in New York state courts, but not a substantive element of the

 crime of conspiracy under state law. Because Second Circuit authority makes clear that

 RICO does not incorporate procedural or evidentiary provisions of state law, the overt

 act requirement imposed by Section 105.20 does not apply to allegations of state-law

 conspiracy offered as racketeering acts in a federal RICO prosecution.

 I.     Second Circuit Authority Encourages Instructing the Jury as to the
        Substantive Elements of State Crimes Proffered as Racketeering Acts,
        but not Evidentiary or Procedural Provisions

        a.     Controlling Authority Encourages Instructing Juries in RICO
               Cases as to the Substantive Elements of State Offenses Offered
               as Racketeering Acts

        The Second Circuit has repeatedly stated in dicta that, although a district court is

 not required to instruct the jury as to the substantive elements of any violations of state

 criminal law that are offered as racketeering acts in a RICO indictment, it is generally a

 better practice to do so, particularly where the failure to instruct the jury as to the

 specific elements of the state offense may cause prejudice to the defendant by permitting

 the jury to find the alleged racketeering act to have been committed on the basis of facts

 that would not constitute a criminal offense under the relevant state law. Although

 technically controlling Second Circuit authority holds that the district court need only

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 provide a generic definition of the underlying state crime, see United States v. Bagaric,

 706 F.2d 42, 62-63 (2d Cir. 1983), abrogated in part by National Org. for Women, Inc. v.

 Scheidler, 510 U.S. 249 (1994), (holding that the jury need not be instructed as to the

 elements of the state law underlying the alleged racketeering act because “[r]eferences

 [in RICO] to state law serve a definitional purpose, to identify generally the kind of

 activity made illegal by the federal statute,” so that “[a]ccurate generic definitions of the

 crimes charged were sufficient” to adequately advise the jury of the law); United States

 v. Orena, 32 F.3d 704,714 (2d Cir. 1994) (quoting Bagaric), subsequent panels of the

 court have narrowed the holding of Bagaric and have made clear that in at least some

 cases, a district court's failure to advise the jury as to the elements of the state offense

 may be grounds for reversal, and that district courts are encouraged to do so in all cases.

        The Second Circuit substantially limited, but did not overrule, Bagaric in United

 States v. Carrillo, 229 F.3d 177 (2d Cir. 2000). In Carrillo, the appellant sought a

 reversal of his RICO conviction on the ground that the district court failed to advise the

 jury that in order to find that the appellant had participated in a conspiracy to commit

 murder in violation of New York law, it must find that an overt act had been committed

 in furtherance of the conspiracy. The government argued on the basis of Bagaric and

 United States v. Diaz, 176 F.3d 52 (2d Cir. 1999) (holding that “the government is not

 required to prove an 'overt act' under Connecticut law because the reference to violating

 state law in the [Violent Crimes in Aid of Racketeering (‘VICAR’)] count is only meant to

 indicate unlawful conduct that constitutes a predicate offense for a VICAR charge under

 § 1959(a)(6).”), that the appeal should be denied because the district court was not

 required to instruct the jury as to the elements of the substantive offense, nor was the

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 government required to prove the occurrence of an overt act. The Carrillo court

 acknowledged that Bagaric supported the government's position, but expressed its

 “doubts [] whether Bagaric's principle can be applied as a practical matter in all

 circumstances.” 229 F.3d at 183. Though lacking the authority to overrule Bagaric, the

 Carrillo court cast Bagaric's status into considerable doubt, reasoning as follows:

        If the conduct proved at trial did not satisfy the elements of the offense as
        defined by state law, a jury could not find that the defendant had committed
        the state law offense charged as a predicate act of racketeering. Likewise, even
        assuming evidence from which a jury could find a violation of state law, if the
        defendant's acts as found by the jury did not include all the essential elements
        of the state law offense, by definition, no state offense would have been found.
        It is difficult to see (notwithstanding the statements in Diaz) how the
        defendant could be properly convicted if the conduct found by the jury did not
        include all the elements of the state offense since RICO requires that the
        defendant have committed predicate acts “chargeable under state law.”

 Id. at 183-84 (emphasis in original, footnote omitted). Carrillo concluded that “[t]he

 Bagaric holding therefore extended only to the principle that where the jury has found

 that all elements of an offense have been proved, a conviction cannot later be overturned

 on the formalistic grounds that the jury charge had omitted to state all elements.” Id. at

 183 n. 1. The court acknowledged that Diaz went further than Bagaric, apparently

 suggesting that the government need not prove every element of the underlying state

 offense in order to establish the commission of a racketeering act based on violation of

 state law under RICO, but observed that “[w]e have serious doubts [] whether that

 assertion can stand the test of time,” noting that RICO “seem[s] to require of a predicate

 act based on state law that the act include the essential elements of the state crime. It is

 difficult to square the assertion in Diaz with the RICO and VICAR statutes.” Id. at 185-




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 86.5 The Carrillo court observed that in some cases, “confusion and unfairness can arise

 from failure to charge the elements of the state law crimes constituting racketeering

 acts,” id. at 184, and, after discussing a number of hypothetical cases in which the failure

 to instruct the jury as to the elements of the state criminal offense could create such

 unfairness for a RICO defendant, observed that “[n]o doubt for these reasons, in spite of

 Bagaric, district judges conventionally instruct juries on the elements of the state law

 offenses charged as predicate acts. We think in most circumstances that is the best

 practice.” Id. at 184-85 (footnote omitted). The court further noted that, while district

 courts are permitted under Bagaric to provide only a generic description of the state

 crime underlying the purported racketeering act, that practice “can prejudice the

 defendant. Notwithstanding Bagaric's theoretical approval, the practice risks reversal

 on appeal.” Id. at 185. However, Carrillo ultimately concluded that it did not need to

 directly address the question of Bagaric and Diaz's continued vitality, or to recommend

 a reconsideration of the issue en banc, because the district court's failure to instruct the

 jury as to the substantive elements of conspiracy had no “practical effect,” because

         for each conspiracy-to-murder racketeering or VICAR act found by the jury,
         the jury also found that [the appellant] committed the murder or attempted
         murder that was the objective of the particular conspiracy. Thus, the jury
         necessarily found that [the appellant] himself had committed an 'overt act'


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                   The Diaz opinion is regrettably silent as to the basis of its conclusion that the government
 need not prove the commission of an overt act in order to obtain a RICO conviction on the basis of a
 racketeering act involving state-law conspiracy. If, as Carrillo assumes, Diaz meant that the government
 need not prove every element of the state crime, Carrillo seems to be correct in its suggestion that Diaz is a
 poor interpretation of RICO. However, if the Diaz court had in mind the fact, discussed in Part II, infra,
 that the overt act requirement is not a substantive element of conspiracy, but rather an evidentiary
 requirement (assuming that to be true under the Connecticut law at issue in Diaz), then its application of
 the principle that the government need not comply with state procedural or evidentiary rules in order to
 establish the commission of racketeering acts based on violation of state criminal law is correct, and is not,
 as Carrillo asserts, an extension of or departure from previous Second Circuit precedent. In short, it seems
 that Diaz's holding is correct, but perhaps not for the right reasons.

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         of murder or attempted murder in furtherance of each conspiracy to murder.

 Id. at 186.6

         Subsequent cases have adopted Carrillo's approach, holding that while district

 courts are technically permitted to provide only a generic definition of the underlying

 state crime to the jury, the better practice is to instruct the jury as to all of the

 substantive elements of the crime, as the failure to do so creates a risk of reversible error

 should the court create a situation in which the defendant might be prejudiced by the

 court's insufficiently detailed instructions to the jury. For example, an analogous

 situation arose in United States v. Feliciano, 223 F.3d 102 (2d Cir. 2000). In that case,

 the appellant challenged his conviction for violent crime in aid of racketeering in

 violation of 18 U.S.C. § 1959, which rested in part on alleged racketeering acts involving

 narcotics trafficking and narcotics trafficking conspiracy in violation of 21 U.S.C.

 841(a)(1) and 846, arguing that the district court's failure to instruct the jury as to the

 elements of those underlying federal offenses constituted reversible error. Because the

 appellant had not objected to the district court's instruction at the time, the Second

 Circuit applied a plain error analysis, but conceded that the appellant's argument “may

 have some force,” even under that deferential approach. Id. at 115. However, the court

 ultimately found the appellant’s argument unavailing because “there was abundant

 evidence at trial that [the appellant's gang] engaged in racketeering activities by

 trafficking in controlled substances.” Id. Likewise, in United States v. Pimentel, 346


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                  The Carrillo panel noted that, prior to publication, its opinion was circulated to all active
 judges of the Second Circuit, all of whom agreed with the panel's opinion. See id. at 186 n. 6. Thus, while
 Bagaric and Diaz technically remain good law in the Second Circuit, their holdings have been quite
 narrowly circumscribed by Carrillo and the subsequent cases discussed below.

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 F.3d 285 (2d Cir. 2003), the Second Circuit rejected the appellants' argument that the

 district court's failure to instruct the jury as to the substantive elements of trafficking in

 controlled substances in violation of 21 U.S.C. 846, and murder or attempted murder in

 violation of New York or Pennsylvania law, constituted reversible error. The Pimentel

 panel noted that “[s]ince Bagaric was decided, we have on more than one occasion

 cautioned the Government and district judges within this Circuit against adhering to the

 bare bones generic instructions concerning the racketeering act elements that were

 found to be sufficient there.” 346 F.3d at 302. As in Carrillo and Feliciano, however, the

 Pimentel panel concluded that the failure to instruct the jury more fully was harmless

 error because “there was legally sufficient evidence that the [appellants' gang] engaged

 in the racketeering acts alleged in the indictment.” Id. at 304. However, Pimentel noted

 that

        [i]n affirming these convictions, we do not condone the District Court's
        decision not to include in its jury charge the definition of the racketeering
        acts charged in the indictment. Indeed, as in Carrillo and Feliciano, we again
        caution the Government and the district courts in this Circuit that the
        preferred practice in VCAR and RICO cases is to include those definitions
        when charging the jury, and not doing so risks vacatur of the convictions on
        appeal.
 Id. at 305.

        Thus, the current state of the law in the Second Circuit holds that, while an

 instruction as to the substantive elements of the state or federal offenses identified as

 racketeering acts in a RICO indictment is not strictly necessary in all cases, the practice

 is strongly encouraged by the Court of Appeals, and the failure to instruct the jury in

 such a manner can create reversible error in situations where confusion or prejudice

 arises as a result. If the overt act requirement is a substantive element of New York's

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 criminal conspiracy law, the district court should strongly consider including an

 instruction regarding that requirement in its jury charge. However, as this Court has

 noted when discussing this issue with counsel, Carrillo’s logic– that the substantive

 elements of the underlying state offense should be explained to the jury when the

 district court’s failure to do so might result in “confusion and unfairness”– can likewise

 counsel a refusal to instruct the jury as to those elements when doing so is likely to

 create more confusion that in resolves. Carrillo, 229 F.3d at 184. The Court believes

 that this may be such a case. If the Court were to instruct the jury that it must find that

 some overt act was committed in order to determine that the defendants are responsible

 for the alleged racketeering acts involving state-law conspiracy, it would be at a loss to

 explain to the jury what those overt acts might be. In a prosecution under the analogous

 federal statute, 18 U.S.C. § 371, the government would be required to identify in the

 indictment the specific overt acts that the defendants were alleged to have performed in

 furtherance of the conspiracy. In this case, however, it is undisputed that the

 government is not required to identify any specific overt acts in furtherance of the

 alleged conspiracies, nor has it done so in the indictment. While it is true that Carrillo

 held that the commission of a murder can itself be an overt act in furtherance of a

 conspiracy to murder, it is the view of this Court that instructing the jury as to the overt

 act requirement of New York state law would serve only to exacerbate the jury’s

 confusion regarding what will inevitably be a lengthy and complicated charge. However,

 as discussed in Part I(b) and II, infra, the Court need not rely solely on this basis for

 denying the government’s request to issue an instruction regarding the overt act

 requirement, because that requirement, as an evidentiary provision rather than a

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substantive element of criminal conspiracy under New York law, is not incorporated by

RICO and need not be established by the government in order to hold the defendants

culpable for the alleged state-law conspiracies.

       b.     RICO Does Not Incorporate Evidentiary or Procedural
              Provisions of State Criminal Law

       While Carrillo and other cases suggest that the government must prove every

element of a state offense introduced as a racketeering act in a RICO trial in order to

establish the defendant’s culpability for the purported racketeering act, the Second

Circuit has long recognized that RICO does not incorporate procedural or evidentiary

aspects of state criminal law when violations of that law are alleged as racketeering acts.

For example, in United States v. Coonan, 938 F.2d 1553, 1564 (2d Cir. 1991), the court

rejected the defendant’s argument that he could not be found culpable in a RICO

prosecution of an alleged racketeering act for which he had been acquitted in state court.

The Court of Appeals held that “Congress did not intend to incorporate the various

states' procedural and evidentiary rules into the RICO statute.” (quoting United States v.

Paone, 782 F.2d 386, 393 (2d Cir. 1986)). Likewise, in United States v. Friedman, 854

F.2d 535, 566 (2d Cir. 1988), the court held that the New York’s double jeopardy rules

might have barred prosecuting the defendant separately for two alleged bribes, the

government could nevertheless charge them as two separate racketeering acts in a RICO

prosecution because the double jeopardy rules “are essentially procedural rules

governing prosecutions for all crimes in New York,” rather than substantive elements of

the crime of bribery. See also United States v. Dellacroce , 625 F. Supp. 1387, 1391

(E.D.N.Y. 1986) (Nickerson, J.) (“Even if proof of an overt act is required, the RICO



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statute does not incorporate state rules of pleading.”); United States v. Galasso, 118 F.

Supp. 2d 322, 331 (E.D.N.Y. 2000) (Spatt, J.) (RICO indictment need not allege overt

act because “the federal RICO statute was not intended to require the Government to

plead state law crimes under 18 U.S.C. § 1961(1)(A) in accordance with the specific

pleading requirements of state law.”).

       II.    The Overt Act Requirement is Not a Substantive Element of
              Criminal Conspiracy Under New York Law
       The government in this case, like the Second Circuit panels in Bagaric, Carrillo,

and perhaps Diaz, and the district courts in Dellacroce and Galasso, assumes that the

overt act requirement imposed by Section 105.20 is a substantive element of the crime

of conspiracy under New York law. However, this Court’s review of New York law makes

clear that the overt act requirement is an evidentiary provision and not a substantive

element of criminal conspiracy. For example, in People v. Miller, 284 A.D.2d 724, 725

(3d Dep't 2001), decided after Carrillo, the Appellate Division rejected the appellant's

challenge to the enhanced sentence imposed on him as a second felony offender, which

was premised on his argument “that a discrepancy between State and Federal law

regarding the need for an overt act to support a conviction of conspiracy precludes the

use of defendant's Federal conspiracy conviction as a predicate felony in New York.”

The court concluded that the appellant's prior federal conviction for conspiracy was

sufficiently analogous to constitute a prior felony conviction for purposes of the

sentencing enhancement under New York state law, noting that “[i]nasmuch as the

Penal Law § 105.20 requirement of an overt act in furtherance of the conspiracy ‘is an

evidentiary requirement unrelated to the elements of the substantive crime,’ the alleged



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discrepancy upon which defendant relies is irrelevant to the predicate felony issue.”

(quoting People v. Rossney, 178 A.D.2d 765, 767 (3d Dep't 1991)). In Rossney, the

Appellate Division answered the question presented, “whether the proof of an overt act

is necessary to make out a prima facie case of conspiracy,” in the negative. The court

determined that “[t]he elements of the substantive crime [of conspiracy] are the

requisite mental state for the commission of the underlying crime and an agreement to

commit that crime. . . . The legislative mandate that there must be proof of an overt act

before a conviction may be had is an evidentiary requirement unrelated to the elements

of the substantive crime.” (citing People v. Hudy, 73 N.Y.2d 40 (1988) (abrogated in part

by Carmell v. Texas, 529 U.S. 513 (2000); other citation omitted).

       Because the overt act requirement is an evidentiary provision rather than a

substantive element of criminal conspiracy under New York law, the government is not

required to plead or prove that any overt act was undertaken during the course of the

alleged conspiracies, and this Court will not instruct the jury as to the overt act

requirement in its discussion of the alleged racketeering acts based on purported

violations of the New York criminal conspiracy statute.




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                                    CONCLUSION

       For the reasons stated above, the government’s request that the court instruct the

jury as to the overt act requirement imposed on conspiracy prosecutions in state court

by New York Penal Law § 105.20 is hereby DENIED.

                                                        SO ORDERED.

       Dated:        Brooklyn, New York
                     January 29, 2008
                                                 ___________/s/______________

                                                  I. Leo Glasser
                                                  United States Senior District Judge

Copies of the foregoing order were electronically sent to:

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